                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

 UNITED STATES OF AMERICA,                       )
                                                 )
         Plaintiff,                              )
                                                 )
 v.                                              )   NO. 3:21-cr-00264-2
                                                 )
 JOSHUA H. SMITH,                                )
                                                 )
         Defendant.                              )

                                            ORDER

        Defendant’s Notice of Intent to Change Plea (Doc. No. 61) is GRANTED.

        As such, a change of plea hearing will take place on October 19, 2022, at 2:00 p.m.

        The parties shall submit the proposed plea petition, an Agreed Statement of the Elements

of each offense and the statutory penalty for each, and the plea agreement, if any, by noon on

October 18, 2022..

        IT IS SO ORDERED.

                                             ___________________________________
                                             WAVERLY D. CRENSHAW, JR.
                                             CHIEF UNITED STATES DISTRICT JUDGE




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